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 3                                                                                  4F8 1g 2011
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                                                                               CLERK,U.S.DISTRICT counT
 5                                                                                DIsTnlcT OF NEVADA
                                                                          BY                           oEpun
 6                                    U N ITED STA TES D ISTR IC T CO U R T
 7                                           D IST RIC T O F N EV A D A

 8 UNITED STATESOF AM ERICA, )
                             )
 9                Plaintiff, )                                                                                      )
10                                            )                                                                     p
                 v.          )                       2:11-CR-26-KJD ILR.
                                                                       LI
                             )                                                                                      S
11 CAROLINE DELLAVALLE,      )                                                                                      :
  ii
  :                          )
12.               oefendant. )
     I
13;                                 PR ELIM IN AR Y O R DER O F FO RFE ITU R E
14I              ThisCourtfindsthaton Aprill9,20ll,defendantCarolineDellavallepled guilty to Count
15       One ofa O ne-countCrim inallnfonnation charging herw ith Title 21,United StutesCode,Sections

16 841(a)(1)and 846,ConspiracytoManufactureMarijuana.
17               This CourtfindsdefendantCarolineD ellavalle agreed to theforfeiture ofthe property set
18       forth in the Forfeiture Allegationsofthe Crim inalInform ation.
19               This Courtfinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),theUnited Statesof
20 A m erica has showm the requisite nexus between the property setforth in the orfeiture A llegatio            ''
                                                                      Cm FCCLIl'h.
                                                                                 kr,      .LK-'G O#**'GO             'Q
21 ofthe Crim inallnform ation and the offense to which defendant                       pled guilty.           *-
22         ThefollowingassetsaresubjecttoforfeiturepursuanttoTitle21,UnitedStatesCode,Section '
23 853(a)(1)and (2):$90500 in U nited StatesCurrency.
                                ,
                                                                                              :
                                                                                              '
24               This Courtfindsthe United States of Am erica is now entitled tonand shouldsreduce the .
25       aforem entioned property to the possession ofthe U nited StatesofA m erica.
26       ...
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 1               N O W TH EREFORE,IT IS H EREBY O RD ER ED ,A DJU DG ED ,AN D D ECREED thatthe
 2       U nited StatesofA m erica should seize the aforem entioned property.

 3               ITISFURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,andinterestof                               I
                                                                                                                     !
 4 CarolineDellavalleintheaforementionedpropertyisforfeitedandisvestedintheUnited Statesof                           I
                                                                                                                     1
 5 Am erica and shallbesafely held by the United StatesofAm ericauntilfurtherorderofthe Court.                       !
 6               IT IS FU RTHER ORD ERED ,AD JUD G ED ,AN D D ECREED theU nited StatesofM erica

 7 shallpublishforatleastthirty(30)consecutivedaysontheofticialinternetgovernmentforfeiture
 8       w ebsite,w ww ,forfeiture,gov,notice ofthis Order,which shalldescribe the forfeited property,state !
                                                                                                            1
 9       the tim e underthe applicable statutew hen a petition contesting the forfeituzem ustbefiled,and state
     I
10       the nam eand contactinform ation forthegovernm entattom ey to be sen'edw ith the petition,ptzrsuant
1l ' to Fed. R.Crim.P,32.
                        2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
12               IT IS FURTHER ORD ERED ,AD JU D GED ,A N D D ECREED apetition,ifany,m ustbefiled
l3       w ith the Clerk ofthe Court,333 LasV egasBoulevard South,LasV egas,N evada 89101.
     1
14               IT IS FURTH ER O RD ERED ,A DJU D GED ,AN D D ECREED a copy ofthepetition,ifany,
15       shallbe served upon the A sset Forfeiture A ttorney of the United States Attorney's Oftice atthe '
                                                                                                                 l
16       follow ing address atthe tim e offiling:                                                                l

17                      DanielD .H ollingsworth
                        A ssistantUnited StatesA ttorney
18                      M ichaelHum phreys            .

                        AssistantUnited States Attorney
19                      Lloyd D .George United States Courthouse
   I                    333 LasVegasBoulevard South,Suite 5000
20 ' .                  Las V egas,N evada 89l0 l.
21               IT IS FU R THER ORDERED ,AD JUD G ED ,AN D DECREED the notice described herein
22' need notbe published in the eventa D eclaration of Forfeiture is issued by the appropriate agency
     !
23' ...
24       ...
                                                                                                                 :
25       ...

26       ...

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follow ing publication ofnotice ofseiztlre and intentto adm inistratively forfeitthe above-descrfbed

property.
        DATED             &                      ':
                 this (L''
                         .
                         i dayof            '                 ,2011.


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                                             UN ITED STA TES D ISTRICT JUD G E
